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              IN THE UNITED STATES DISTRICT COURT FOR
                  THE EASTERN DISTRICT OF VIRGINIA
                                    RICHMOND DIVISION

TZANN FANG, M.D.,                         )
                                          )
                  Plaintiff,              )
                                          )
v.                                        )
                                          )
HYATT CORPORATION, et al.,                )
                                          )
                  Defendants.             )
__________________________________________)                   Case No. 3:19-CV-00362-MHL
                                          )
HYATT CORPORATION, et al.,                )
                                          )
            Third-Party Plaintiffs,       )
                                          )
v.                                        )
                                          )
HARVEY-CLEARY BUILDERS, et al.,           )
                                          )
            Third-Party Defendants.       )


              THIRD PARTY DEFENDANT CODE CONSULTANTS, INC’S
               MEMORANDUM IN SUPPORT OF MOTION TO DISMISS

       Third Party Defendant Code Consultants, Inc. (“CCI”), by counsel, submits the following

memorandum of law in support of its Motion to Dismiss under Rule 12(b)(6) of the Federal

Rules of Civil Procedure, filed herewith.

                                       INTRODUCTION

       Tzann Fang, M.D. (“Fang”) originally brought suit in state court against Hyatt

Corporation, Tysons Corner Hotel Plaza and Helix Electric, Inc. (collectively “Defendants”)

alleging negligence related to the installation and maintenance of the smoke detector in a hotel

room Fang and his wife rented in October 2017 at the Hyatt Regency Hotel in Tysons Corner,

Virginia. Fang alleges generally that the proximity of the smoke detector to the shower caused

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steam from the shower to set off the smoke detector, which in turn caused him to suffer pain and

intractable tinnitus. Fang alleges that Hyatt Corporation and Tysons Corner Hotel Plaza were

negligent in the “maintenance” of the smoke detector in his hotel room and knew or should have

known of the hazardous condition on the premises. Complaint at ¶ 23. Fang also alleges that

Helix Electric, Inc. was negligent in the “installation” of the smoke detector in his hotel room.

Complaint at ¶ 29.

        Hyatt Corporation and Tysons Corner Hotel Plaza (collectively “Hyatt”) filed a Third-

Party Complaint against Harvey-Cleary Builders, Callison RTKL, Inc., Blum Consulting

Engineers, Inc., Johnson Controls, Inc. and CCI. Hyatt asserts claims of equitable

indemnification and contribution against CCI. Hyatt does not allege that it is merely passively or

vicariously liable to Fang or that CCI had any involvement in the maintenance of that smoke

detector or operation of the hotel generally. Hyatt only alleges that CCI prepared a fire

protection and life safety analysis. Third-Party Complaint at ¶¶ 35-36. Hyatt does not allege

sufficient facts in support of its claims.

                                     STANDARD OF REVIEW

        A Rule 12(b)(6) motion to dismiss tests the legal sufficiency of the complaint. See

Randall v. United States, 30 F.3d 518, 522 (4th Cir. 1994); Republican Party of N.C. v. Martin,

980 F.2d 943, 952 (4th Cir. 1994). In addition, a motion to dismiss must be assessed in light of

Rule 8’s pleading standards, which require “a short and plain statement of the claim showing that

the pleader is entitled to relief.” Fed. R. Civ. P. 8.

        The pleading standard “does not require ‘detailed factual allegations,’ but it demands

more than an unadorned, the-defendant-unlawfully-harmed-me accusation.” Ashcroft v. Iqbal,

556 U.S. 662, 677, 129 S. Ct. 1937, 1949, 173 L. Ed. 2d 868 (2009) (quoting Bell Atl. Corp. v.



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Twombly, 550 U.S. 544, 555, 127 S. Ct. 1955, 1964, 167 L. Ed. 2d 929 (2007)). “A pleading that

offers ‘labels and conclusions’ or ‘a formulaic recitation of the elements of a cause of action will

not do.’” Id. (quoting Twombly, 550 U.S. at 555).” “Nor does a complaint suffice if it tenders

‘naked assertions’ devoid of ‘further factual enhancement.’” Id. (quoting Twombly, 550 U.S. at

557).

         To survive a Rule 12(b)(6) motion to dismiss, a complaint “must contain sufficient

factual matter, accepted as true to ‘state a claim to relief that is plausible on its face.’” Id.

(quoting Twombly, 550 U.S. at 570). “A claim has facial plausibility when the plaintiff pleads

factual content that allows the court to draw the reasonable inference that the defendant is liable

for the misconduct alleged.” Id. (citing Twombly, 550 U.S. at 556). This facial plausibility

standard “asks for more than a sheer possibility that a defendant has acted unlawfully.” Id.

(citing Twombly, 550 U.S. at 556). Although the allegations in the complaint must be taken as

true, the Court is “not bound to accept as true a legal conclusion couched a factual allegation.”

Twombly, 550 U.S. at 555 (internal quotation marks omitted); see also Iqbal, 129 S. Ct. at 1949

(“the tenet that a court must accept as true all of the allegations contained in a complaint is

inapplicable to legal conclusions”).

                                            DISCUSSION

    I.      Hyatt Fails to State a Claim for Equitable Indemnification Against Code
            Consultants.

         Ordinarily, there is no right to indemnity absent a contract so specifying. VEPCO v.

Wilson, 221 Va. 979, 982, 277 S.E.2d 149, 150 (1981). Virginia law identifies a cause of action

for equitable indemnification without the requirement of a contract in one very narrow

circumstance: when “a party without personal fault, is nevertheless legally liable for damages

caused by the negligence of another.” Carr v. Home Insurance Co., 250 Va. 427, 429, 463

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S.E.2d 457, 458 (1995); accord Hanover Ins. Co. v. Corrpro Cos., Inc., 312 F. Supp. 2d 816,

821 (E.D.Va.2004).

       Hyatt does not and cannot plead sufficient facts to state a claim that it is liable to Fang

without fault on account of CCI’s negligence. Fang’s Complaint specifically alleges that Hyatt

is itself guilty of its own active negligence with regard to the maintenance of the smoke detector

in Fang’s room and failing to correct a hazard Hyatt knew or should have known about –

standard premises liability allegations involving innkeepers and their guests. The Complaint

alleges no set of facts or claims that Hyatt is or could be liable in tort without its own fault but

for the fault of CCI. Complaint at ¶¶ 23-25. Similarly, Hyatt’s Third-Party Complaint alleges no

set of facts or claim that Hyatt is liable without fault for the negligence of CCI. See, e.g., Third

Party Complaint at ¶ 11 and Count II. Nor does Hyatt allege that CCI’s actions were the cause of

Fang’s injuries or that CCI was responsible for the maintenance of the smoke detector in Fang’s

hotel room, the bases of Fang’s claims of negligence against Hyatt. For these reasons, Hyatt

does not state a claim for equitable indemnification against CCI upon which relief can be

granted.

       Hyatt likewise does not and cannot plead the unique procedural requirements for

equitable indemnity under Virginia law. In Carr the Court stated that “[a] prerequisite to

recovery based on equitable indemnification is the initial determination that the negligence of

another person caused the damage. Without that determination, neither the negligent actor nor

the innocent party can be held liable for the damages claimed.” 250 Va. at 429, 463 S.E.2d at

458. The Court in Pulte Home Corp. v. Parex, Inc. applied this precedent and held that the

plaintiff could not win under the law of equitable indemnification because “no determination that




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any act or omission of [the defendant] caused the damage….” 265 Va. 518, 528-29, 579 S.E.2d

188, 193 (2003). 1 Hyatt does not allege a “determination” of CCI’s negligence. 2

           For these reasons, Hyatt fails to state a claim for equitable indemnification under Virginia

law.

     II.      Hyatt Fails to State a Claim for Contribution Against Code Consultants.

           Contribution is an equitable remedy among joint tortfeasors. The Supreme Court of

Virginia established that “before contribution may be had it is essential that a cause of action by

the person injured lie against the alleged wrongdoer from whom contribution is sought.”

VEPCO, 221 Va. at 981, 277 S.E.2d at 150 (citing Bartlett v. Roberts Recapping, Inc., 207 Va.

789, 792, 153 S.E.2d 193, 196 (1967)). The “inchoate right to contribution” arises at the time of

the jointly negligent acts. Shiflet v. Eller, 228 Va. 115, 121, 319 S.E.2d 750, 754 (1984).

           In Count III of the Third-Party Complaint, Hyatt incorporates all prior allegations by

reference and simply states that the Third-Party Defendants were, collectively, responsible for

the design, selection, and installation of the fire alarm and/or fire alarm system and would thus

be liable for any judgment that may arise from the lawsuit initiated by Fang. Third-Party

Complaint at ¶¶ 39-43. In Count II, Hyatt alleges that CCI owed a “duty of care to prepare the

fire protection and life safety analysis for the Hotel….” Third-Party Complaint at § 35. Hyatt

does not allege that Fang has a cause of action against CCI or that CCI owes a common law duty



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 In Pulte Home Corp. the Court also noted that the case would not succeed under the framework
established in Virginia Elec. & Power Co. v. Wilson, 221 Va. 979, 277 S.E.2d 149 (1981)
because the claim for indemnity did not arise from a contractual relationship. Similarly, there is
no allegation of a contractual relationship between either Hyatt entity and CCI.
2
  Both Carr and Pulte were decided long after the General Assembly enacted the current version
of Va. Code §8.01-281(A) in 1981 to modify third-party practice rules. For purposes of this
particular claim, Hyatt must plead both its own “passive” or vicarious” liability to Fang on
account of CCI’s negligence and satisfaction of that liability before its claim against CCI is ripe.
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of care to Fang which would make CCI jointly liable in tort for Fang’s alleged damages.

Therefore, Hyatt fails to allege a claim for contribution upon which that relief can be granted.

                                         CONCLUSION

       For the foregoing reasons, CCI requests entry of an order dismissing the claims asserted

against CCI in Counts II and II of Hyatt’s Third-Party Complaint. Because the deficiencies in

the pleading are incapable of correction consistent with the good faith pleading rule, dismissal

should be with prejudice and without leave to amend.

                                                     Respectfully submitted,


                                                     CODE CONSULTANTS, INC.

                                                     By:        /s/ James W. Walker_____
                                                                     Counsel



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                                  CERTIFICATE OF SERVICE


       I hereby certify that on this 1 day of October, 2019, I served a copy of the foregoing

pleading on all counsel of record via the Court’s electronic filing system, via electronic mail, and

via U.S. Mail, postage prepaid.



                                                      _______/s/ James W. Walker___________
                                                         Counsel for Code Consultants Inc.




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